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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ORAND L. COLLINS,

      Defendant.                                       Case No. 06-cr-30046-DRH

                                      ORDER

HERNDON, District Judge:

             Before the Court is defendant Orand L. Collins’s Second Motion to

Continue Sentencing (Doc. 46) until a date after October 27, 2006. The reasons for

requesting the continuance are because the Assistant United States Attorney on this

case will not be available for the sentencing hearing as currently set for October 5,

2006, and both parties also agree that defendant Collins should not be sentenced

until after his co-defendant Ron Lott is sentenced on October 27, 2006, so that the

Government can file a 5K1.1 motion at defendant Collins’s sentencing; this

apparently would not be possible if defendant Lott is not sentenced first (Id.). The

Court hereby GRANTS the continuance. The sentencing hearing for defendant

Orand L. Collins is hereby rescheduled for Friday, November 3, 2006 at 1:30 p.m.

             IT IS SO ORDERED.

             Signed this 26th day of September, 2006.

                                                      /s/      David RHerndon
                                                      United States District Judge
